       The following case in which the Court of Appeals issued a published opinion has been
appealed to the Supreme Court:

    1. Ryan Oneal Davis
       v. Commonwealth of Virginia
       Record No. 1193-18-2
       Opinion rendered by Judge Huff on
        October 8, 2019
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Marie Dolores Jackson
   v. Dennis Michael Jackson
   Record No. 1776-17-4
   Opinion rendered by Judge Petty
    on August 21, 2018
   Judgment of Court of Appeals affirmed by opinion rendered
    on November 27, 2019 (181229)

2. Tina Lasha Hall, a/k/a
    Tina Lasha Waller
   v. Commonwealth of Virginia
   Record No. 1751-17-3
   Opinion rendered by Judge Beales
     on November 6, 2018
   Refused (181513)

3. Raymond Hamilton
   v. Pro-Football, Inc., t/a The Washington Redskins and
       Great Divide Insurance Company
   Record No. 1091-18-4
   Opinion rendered by Chief Judge Decker
    on February 12, 2019
   Dismissed pursuant to Rule 5:14(a) (190322)

4. Tony Jones
   v. Pro-Football, Inc., t/a The Washington Redskins and
       Great Divide Insurance Company
   Record No. 1219-18-4
   Opinion rendered by Judge Humphreys
    on February 12, 2019
   Dismissed pursuant to Rule 5:14(a) (190321)

5. Joshua Saquan Maurice Eley
    v. Commonwealth of Virginia
   Record No. 0625-18-1
    Opinion rendered by Chief Judge Decker
     on April 16, 2019
    Refused (190633)

6. Ryan Taylor
   v. Commonwealth of Virginia
   Record No. 0719-18-2
   Opinion rendered by Judge Petty
    on April 16, 2019
   Refused (190625)
7. Melinda Newman Mills
   v. Robert Alexander Mills
   Record No. 1630-18-2
   Opinion rendered by Judge Russell
    on May 14, 2019
   Refused (190781)

8. Christopher Michael Ellis
   v. Commonwealth of Virginia
   Record No. 0256-18-4
   Opinion rendered by Senior Judge Haley
    on May 28, 2019
   Dismissed pursuant to Rule 5:14(a) (190844)
